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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                  ***
 7      UNITED STATES OF AMERICA,                             Case No. 2:17-cr-00124-JAD-GWF
 8                                          Plaintiff,
               v.                                                         ORDER
 9
        DAMIEN NORRIS,
10
                                          Defendant.
11

12            This matter is before the Court on Defendant’s Motion for Status Update (ECF No. 172),
13     filed August 1, 2018. Upon review and consideration and with good cause appearing therefor,
14            IT IS HEREBY ORDERED that Defendant’s Motion for Status Update (ECF No. 172)
15     is granted.
16            IT IS FURTHER ORDERED that the Clerk of the Court shall provide a courtesy copy
17     of the docket, along with a copy of the Defendant’s Motion for Status Update (ECF No. 172).
18            Dated this 7th day of August, 2018.
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                                                             GEORGE FOLEY, JR.
21                                                           UNITED STATES MAGISTRATE JUDGE
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